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Plaintiff, Acting Pro Se

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UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA

OAKLAND DIVISION

DAVID A. STEBBINS,
Plaintiff,

Vv.

KARL POLANO ET AL.,

Defendants.

 

 

Case No. 4:21-cv-04184-JSW

PLAINTIFF’S NOTICE OF VOLUNTARY
DISMISSAL WITH PREJUDICE AS TO
DEFENDANT FACEBOOK, INC.

Courtroom:
Judge:

5, 2nd Floor
Hon. Jeffrey S. White

Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff David A. Stebbins

voluntarily dismisses with prejudice his claims in this action as to Defendant Facebook, Inc., which

has not filed an answer or otherwise responded to the Complaint (Dkt. 1), the Amended Complaint

(Dkt. 11), or the Second Amended Complaint (Dkt. 55).

DATED: November 17 , 2021

Respectfully submitted,

DAVID A. STEBBINS

By: /s/ V aed De

Plaintiff, Acting Pro Se

PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITH

PREJUDICE AS TO DEFENDANT FACEBOOK, INC.

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